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FIRST AMENDMENT DEMONSTRATION
PERMIT APPLICATION

Permit requests must be submitted for approval by the Chief of Police at least 3 days prior to the event.

First Amendment demonstration means any demonstration, assembly, picketing, speechmaking, marching, protesting, vigil or
religious service, and all other like forms of conduct, in or upon any street, including the sidewalk area thereof, park or other
public place in the city, that involve the communication or expression of views or grievances, engaged in by one or more
persons, the conduct of which is reasonably likely to draw a crowd or onlookers. City Code § 25-36.

No person shall engage in, participate in, aid, form or start any First Amendment demonstration, consisting of twenty-five (25) or more
persons, unless a First Amendment demonstration permit shall have been obtained from the chief of police. Any person engaging in
any First Amendment demonstration for which a First Amendment demonstration permit has been issued shall not violate any of the
conditions or provisions of such permit. This shall not apply to: A First Amendment demonstration consisting of less than twenty-five
(25) persons or a spontaneous gathering. Organizers of a First Amendment demonstration consisting of less than twenty-five (25)
persons or a spontaneous gathering are encouraged to give as much advanced notice as reasonably possible to permit the city to
provide services necessary to promote, protect, and assure the safety and convenience of citizens in their use of city streets,
sidewalks, parks, and of city property. Nothing in this subsection shall preclude the city from enforcing other laws, ordinances, rules,
regulations, conditions or provisions, adopted to provide for the health, safety, and welfare of the city and its citizens. City Code § 25-
39

*** Depending on the size and scope of the event, you may be referred to the Special Events permit process, which requires a
minimum of 45 day notice. City Code § 25-40

Upon completion, please return this form to offduty@charleston-sc.gov.
Contact the CPD Special Events Office at 843-720-2459 with questions.

TITLE OF caw ce MN Ace DATE OF EVENT: Ape S LOLS
Applicant Name: [ 6WC ountry Up ' G Good, PAC, Ine.

address: 9 Z. Sawe il St! MN. Pleasant, Sc ZI4G
Telephone number (primary): ($43) & 70- oadady (€43) & /0- 4 276
E-mail address: wh ami Hop Z14 64 © Amal. Com

*If parade is designed to be held by and on behalf of, or for any person other than the applicant, the
applicant shall file along with this application a communication in writing from the person proposing to
hold the parade, authorizing the applicant to apply for the permit on his or her behalf. Absent such
written authorization the applicant will be deemed to have applied for the permit in their own name
and shall be deemed the responsible party.

ORGANIZATION (if applicable):

Name of Organization: 0 WCaKntry Vp 1S Good, PAC, [nc.

weed of Organizations Willi gam J, Hams | on,

address: 3 7 Sawell Si, ih. Dieuwsan}, cc 2 946UY
Telephone number (primary): (€43) £76 $29 econdary: (843 } 8/o- 4276
E-mail address: wihammu He 29464 @ Gmatl, (ofr

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RESPONSIBLE PARTY:
Responsible Party Name: L Wed

Address: C [ |

Telephone number (primary) LY 338 1) S bad secondary: (213) OTb: “4 24

E-mail address: wihamilton Z 14 fy g G mail. CoM
dD .

EVENT: anre l ls

Location(s): L100 L [oly nd Park Dae. Char(ecton, S Cc
Hours of event: | - 2: 30 an d LZ: 30 _- -Y Po
Estimated number of attendees: Is b pe vy S h ft, 2 S hit $5

General Description of Event:
mone See attache memorandum

ic Coad, Pac, Ine

If more than one location or a walk/march, list starting point, termination point, detailed description of
route to be traveled, and when the walk/march will begin and end:

at Gavenats Part,

GENERAL CONDITIONS :
City Code § 25-44 unless otherwise noted.

1) The event will not begin before 8:00 a.m. and must terminate before 8:00 p.m. city Code § 25-37
2) The conduct of the demonstration will not substantially interrupt the safe and orderly movement
of other traffic, pedestrian and vehicular, contiguous to its route. It shall be unlawful for any
person to point or present a firearm (as defined in S.C. Code § 16.25.10(7)), or to brandish a
weapon (as defined in City Code § 21-219), while participating in or attending a First Amendment
demonstration as defined in this article. All signs. must be hand- held. city coce § 25-38
3) ~The conduct of the demonstration will not require the diversion of so great a number of police
‘officers of the city properly to police the line of movement and the areas contiguous thereto as
to prevent normal police protection to the city.
4) The concentration of persons at assembly points of the demonstration will not unduly interfere
with proper fire and police protection of areas contiguous to such assembly areas.

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‘imated number of attendees: I$ 0 eS Sif, 2 shift

| Description of Event:
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5) The conduct of such demonstration will not interfere with the movement of firefighting
equipment enroute to a fire.

6) The conduct of the demonstration is not reasonably likely to cause injury to persons or property,
or to provoke disorderly conduct.

7) The demonstration is scheduled to move from its point of origin to its point of termination
expeditiously, without unreasonable delays enroute and without passing by any location more
than once.

8) Ifthe demonstration is to be solely on the sidewalk areas of the city, the demonstration shall be
in single file only of persons participating, with no animals, vehicles or other nonhuman objects
except reasonably sized signs individually carried in the line of procession.

REGULATIONS:

City Code § 25-62 unless otherwise noted,

Notwithstanding the twenty-five (25) person threshold for First Amendment demonstration permits
required in Division 2 of this article, the following regulations shall apply to First Amendment
demonstrations and spontaneous gatherings of any size:

1) It shall be unlawful for demonstrations to disrupt, block, obstruct or interfere with pedestrian or
vehicular traffic or the free passage of pedestrian or vehicular traffic on or into any driveway,
sidewalk, public right-of-way, building, pedestrian entrance, stairway, ramp, or other access to
buildings, which abut the public sidewalks.

2) It shall be unlawful for a demonstration to occur within fifteen (15) feet from the outermost edge
of any monument or memorial, to include fountains, sculptures, plaques, statues, markers,
gazebos, objects and other architectural elements or structures with commemorative, historical,
symbolic, aesthetic, or artistic significance in order to preserve the intended use of a monument
or memorial and to ensure all persons’ use and enjoyment and safe and unimpeded ingress and
egress to and from such property.

3) It shall be unlawful for a demonstration to remain stationary in front of or to pass repeatedly by
an individual's residence or dwelling.

4) it shall be unlawful during a demonstration to place any structure, enclosure, tent, tables, chairs,
bicycles, motor vehicles, golf carts, mopeds or other equipment on any city property, or park any
bicycles, motor vehicles, golf carts, mopeds or other equipment, except in designated parking
spots and except as specifically authorized by the permit.

5) It shall be unlawful during a demonstration to remove, deface, damage, or otherwise injure any
structure, sign, fence, equipment, improvement, monument or memorial, to include fountains,
sculptures, plaques, statues, markers, gazebos, objects and other architectural elements or
structures, including hanging, attaching or placing signs, flags, placards or any other object of any
kind on such city property.

6) It shail be unlawful during a demonstration to walk, stand, sit, lie, or climb upon any wall, fence,
shelter, tree, shrub, or other vegetation, or any structure, monument or memorial, to include
fountains, sculptures, plaques, statues, markers, gazebos, objects and other architectural
elements not designed or intended for such purposes.

7) It shall be unlawful during a demonstration to damage landscaping, plantings, flowers, trees,
shrubs, grass, ground cover or other vegetation located on city property.

8) It shall be unlawful during a demonstration to enter onto private property without prior written
permission from the property owner.

9) It shall be unlawful during a demonstration to enter onto federal, state, or county property
without prior written permission from the applicable governmental agency.

Page 3 of 4 Applicant Initials
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including ingress or egress to or from any city building, driveway, stairway, ramp, sidewalk, public
right-of-way, monument or memorial, to include fountains, sculptures, plaques, statues, markers,
gazebos, objects and other architectural elements or structures.

11) Participants of a demonstration shall comply with lawful directions or instructions set forth on
any sign posted pursuant to law or by the city for or in connection with the event.

12) Participants of a demonstration shall abide by city park rules if the demonstration is held in a city
park and shall not interfere with the intended use of the park or interrupt the reasonable use and
enjoyment of the park by non-participants.

13) Participants of a demonstration shall abide by and be subject to all local, state and federal laws,
ordinances, and regulations and any directions given by a law enforcement officer.

14) It shall be unlawful for any person(s), participating in a First Amendment demonstration for which
a permit has been issued, to openly carry a firearm. Organizers may be directed to post signs
indicating the specific area open carry of firearms are prohibited. city Code § 25-38b

Nothing in this section prohibits a law enforcement officer from issuing a command to disperse in the
event of a riot, breach of the peace, disorderly conduct or other unlawful assembly.

Nothing in this subsection shall preclude the city from enforcing other laws, ordinances, or regulations.
Nothing in this section is intended to restrict free speech or any other constitutional right.

By initialing each page of this application and signing below, as the applicant, | hereby agree to the
above general conditions, regulations, and any other special conditions imposed as part of the approval

process. Failure to follow the conditions of this permit or violations of related ordinances is a criminal
violation subject to arrest and/or citation. city Code § 25-55

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Applicant

Upon completion, please return this form to offduty@charieston-sc.gov. A member of the CPD Special

Events Office will acknowledge receipt of applications submitted within one business day.
The chief of police shall act upon the application for a First Amendment demonstration permit within
one (1) week after the filing thereof, or, if the application was filed less than seven (7) days before
the proposed demonstration, then within two (2) days after the filing thereof. If the chief of police
disapproves the application, he shall provide written notice to the applicant within two (2) days after
the date of his determination, or within a reasonably practical time period, a notice of denial, stating
the reasons for his denial of the permit.

Contact the CPD Special Events Office at 843-720-2459 with questions.

a~--=--2-------------------------------------CPD SPECIAL EVENT OFFICE USE ONLY:------------------------------------------

Special Events Committee Advisect Date:

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Ace Mace Demonstration Apr. 5,
2025 Safety Plan

Safety and Operation Plan by Demonstration Sponsor

Lowcountry Up is Good, PAC 0 8]
Written by William J. Hamilton, III, IS
Attorney at Law, SC Bar #2636, Admitted Nov. 25, 1985 ‘eTeyela

Executive Director, Lowcountry Up is Good, PAC, Inc.

Mar 17, 2025 7:00 AM GMT-12

This document should be reviewed with site maps in hand. Both the orientation

map showing the surrounding area and the one block site map are online for open share.
We also have a street level view online.

Demonstration will take place from 1 to 4 pm on Saturday, April 5, 2025, with two shifts of 90
minutes. It will take place in the public right of way in front of the local office of US Representative
Nancy Mace at 900 Island Park Drive on Daniel Island in Charleston, SC. The demonstration will
actually front on River Island Drive. This is on the main road out of downtown Daniel Island, the
busiest road on the Island. Setup should begin about 12 noon and the site should be clear and clean by
4:30.

It is believed that Nancy Mace removed her local office to this remote location to reduce the
amount of contact she had with her constituents Her previous office location was on Coleman Blvd. In
urban Mt. Pleasant on the CARTA #41 Bus Line and in the midst of the largest concentration of her
constituents within the district. Her staff actively discourages visits to the office, which is very poorly
located, but is within walking distance of Mace's Home, a convenience most of her constituents,
trapped on weak transit or in congested traffic up to hours a day, would envy. It is emblematic of her
self absorbed approach to serving in Congress, which is increasingly about her personal priorities and
needs.

Demonstration Details

The demonstration space (see attached maps) is approximately 100 feet long and runs from a
point 10 feet from the corner North. The public right of way space is approximately 20 feet wide
(undoubtedly planned for future road expansion) and consists of grass. Landscaping and a brick wall
delineates the privately owned property of the real estate company which leases office space to Mace.
We'll demonstrate in a ten foot wide area centered in the public right of way, designated by traffic cones
on the South End and landscaping flags along the edge. We'll stay 5 feet from the roadway. There is no
sidewalk and no real reason for pedestrians to transit this area.

The police can designate a location for counter protesters across either street near the
demonstration, which will provide separation of over 30 feet.

A 10x10 foot pop up tent will be positioned in the center of the demonstration space. This will
provide rest and wellness care for elderly and disabled participants in the demonstration and hydration
and snacks for all participants. A cot and chairs will be located within the tent. The tent will be held
down with weight bags, not stakes. It will also serve as the studio space for the live stream and PA
management. The litter collection receptacles for the demonstration will be positioned here.

Ace Made Demo Plan, Page 1
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Participants will be asked to bring a full, reusable water bottle for hydration.

Sound reinforcement will consist of one Fender 150 passport conference sound system with
speakers facing North and South from the tent. A sound board will be used to patch that into the live
stream sound feed. Emergency sound reinforcement will be provided by a 15 watt handheld
megaphone. The Fender 150 is a fairly small system and won't be audible 200 feet from the
demonstration site. It won't interfere with traffic. Use of this system is considered essential to
maintaining an effective and safe demonstration and permission using it will be litigated in Federal
Court if necessary.

Legal support will be provided by members of Petigru Free Speech Defense, which will be
reactivated for this event and resume local operations. Lawyers will be SC Licensed and consist of
onsite monitors coordinating with event staff and offsite support. The entire demonstration, including
setup, will be video recorded.

Image, Left - Our Mary Flag, which will fly over the Demonstration
| honors the late Mary Smith, a supporting member of Lowcountry Up is
Good, an activist who died of poorly treated chronic disease in fall
2019 after a years long struggle with illness, inadequate transit, lack
of affordable housing, problems with climate, inadequate wages and
inequality. She appeared as Syphide, the Spirit of Motion, the fairy
mascot of Best Friends of Lowcountry Transit for two years before
becoming too ill to continue.

Participants will be asked to wear a color corresponding
with their cause:

e Green for Transit,

e Brown for Affordable Housing;
e Red for Education

Orange reflective work vests for Labor Advocates

Blue for Women's rights,

Yellow for healthcare and reproductive rights advocates

Pridewear/rainbow for LGBTQ issues.

Groups will be positioned along the road, within the demonstration space by die roll shortly
before the demonstration begins. The order will be reversed for the 2" shift. Participants will be asked
to wear close toed shoes, a hat and bring a full, reusable water bottle. They'll be asked to go to the
bathroom prior to attending the demonstration. We have the capability to deploy a camp toilet in a
small tent if permitted. We do not plan on using bathrooms owned by local businesses. Participants will
be asked to carpool or rideshare from CARTA bus stops in N. Charleston and Mt. Pleasant. Participants
will not be allowed to use sticks to support their signs per state law. Participants who may need it will
be encouraged to bring their own folding chairs.

The Demonstration will be limited to 150 participants per shift. Participants can sign up online
prior to the demonstration or come to the site for admission and granting of participant credentials (a
custom made sovereign button) during the demonstration. If the maximum number of participants is
exceeded, a waiting area will be established nearby at Governor's Park, one block South of the
Demonstration site. As people leave, we'll call those on the waiting list signup to come up and
participate. There will be no demonstration at the park to minimize the areas the police need to patrol.

There will be a change of the participants at 2:30 with those leaving departing for their cars
while handing their signs and other demonstration equipment over to the people coming in. This will be
done in phases, by affinity group, starting at 2:30.

The demonstration will end at 4:00 pm, with pickup and litter clean up to immediately follow.

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The area should be clear by 4:30 pm with most participants headed to another event in the area, or if
there is none, our after event in N. Charleston.

Staff and Organization
Staff for the event will consist of experienced local leaders, all of whom have participated and
run many social justice actions in the Lowcountry.

e William J. Hamilton, III, Attorney at Law, will serve as demonstration director, with general
supervising authority, he will serve as the main liaison with the Police. He will also work with
the legal protection team members on and off site.

e Erin McKee, an experienced and professionally trained Union Organizer, will be safety
coordinator and work on permit compliance and maintaining good, positive order

e Merill Chapman will serve as program and speaker coordinator. She'll organize speakers and
music.

e Carol Dotterer will assist Merrill with speakers and program

e We will also have a health and comfort coordinator to assist with making sure participants are
comfortable and safe.

e Demonstration Marshals will be designated and placed at the North, South and Central positions
on the Demonstration line. They will assist McKee in maintaining a strict policy of non

interaction with MAGA counter

protestors.

Image, left, Pastor Thomas Dixon is
an active supporter of Lowcountry Up
is Good and spoke at the recent

| demonstration at Hampton Park.

e One ranger will patrol areas
near the demonstration to look out for
5 possible problems approaching the

" demonstration so that we can maintain
readiness of our staff and participants

and advise the police.
e Donna Marie Ellington will serve as social media proctor and work off site to promote
awareness before, during and after the event.

All staff will have FRS type radios. Frequency and lockout codes will be provided to the police
with a radio to monitor transmissions if needed. A roster of staff cell phone numbers will serve as
backup. Participant signup will be managed using Eventbright. Online communication will be focused
on Blue Sky at https://bsky.app/profile/wjhamilton29464.bsky.social

While advance registration to participate will be done online via Eventbright, there is a
Facebook event page where we are already posting updates at
https://www.facebook.com/events/987553909990774?active_tab=about

Lowcountry Up is Good's goal is to present a safe, orderly and effective demonstration which is
deliberately set for the busiest tourism weekend of Charleston's year. Unfortunately the needs of
tourists and real estate investors consistently trump our quality of life and local survival needs.

Justification for Ace Mace Social Justice Action

Ace Made Demo Plan, Page 3
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Charleston is rated the best place in the US to vacation, but low wages and a rising cost of living
drive citizens to desperation. Working residents spend hours snarled in traffic, missing time with their
children who struggle alone to learn through homework what their schools seem incapable of teaching.
Mace ignores her constituents and these issues while pursuing the Republican nomination for Governor
of SC and seeking profile on right wing media through sexuality connected culture war issues. On the
only weekend of the year when every Charleston area hotel room is full, we will point out the lack of
focus leaders like Rep. Mace have on issues like reliable transit, affordable housing, a living wage,
education, healthcare and human rights.

As progressive South Carolinians we accept the reality of living in a red state, however, that
does not mean it is acceptable for a US Representative to dodge contact with the people she represents
while they stagger under collapsing federal safety net programs, a rapidly rising cost of living and the
loss of the cultural and environmental opportunities which once made living in the SC Low Country
more attractive than it is now. Our position as working citizens here is unsustainable, even for
conservative Republicans.

Our Congresswoman should be holding town halls, connecting with the people she represents
and working towards a better future for all our children, red and blue. While we cannot hope to find
common cause with MAGA Trumpublicans, it is the duty of our Congresswoman to hear and represent
us all. In areas where our interests coincide such as cost of living, traffic and housing, it continues to be
her duty to act in the Congress in the best interest of our entire district.

More Information, Contact

Prepared by
William J. Hamilton, III
Attorney at Law
32 Sowell St.
Mt. Pleasant, SC 29464
(843) 870-5299

wyhamilton29464@gmail.com
Follow on Blue Sky at https://bsky.app/profile/wjhamilton29464.bsky.social

Ace Made Demo Plan, Page 4
